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 1   Danny J. Horen, Esq.
 2   NV Bar No. 13153
     Kazerouni Law Group, APC
 3   7854 W. Sahara Avenue
 4   Las Vegas, NV 89117
     Telephone: (800) 400-6808x7
 5   Facsimile: (800) 520-5523
 6   danny@kazlg.com
 7   David H. Krieger, Esq.
 8   NV Bar No. 9086
     HAINES & KRIEGER, LLC
 9   8985 S. Eastern Avenue, Suite 350
10   Henderson, Nevada 89123
     Phone: (702) 880-5554
11
     FAX: (702) 385-5518
12   dkrieger@hainesandkrieger.com
13
     Attorneys for Plaintiff
14   Sanford Buckles
15
                          UNITED STATES DISTRICT COURT
16                             DISTRICT OF NEVADA
17                                        Case No.: 2:15-cv-01581-GMN-CWH
     SANFORD BUCKLES on behalf
18   of himself and others similarly
     situated,                            FIRST AMENDED COMPLAINT
19                                        FOR CLASS ACTION COMPLAINT
                   Plaintiff,             FOR DAMAGES PURSUANT TO
20                                        NRS 200.600 ET SEQ.
                           v.
21
     GREEN TREE SERVICING,                JURY TRIAL DEMANDED
22
     LLC, and WALTER
23   INVESTMENT MANAGEMENT
24   CORPORATION
25                 Defendants.
26
27
28

     CLASS ACTION COMPLAINT
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                                      INTRODUCTION
 1
       1. SANFORD BUCKLES (“Plaintiff”) brings this class action for damages,
 2
 3        injunctive relief, and any other available legal or equitable remedies,
 4
          resulting from the illegal actions of GREEN TREE SERVICING, LLC
 5
          (“Green    Tree”)   and    WALTER        INVESTMENT         MANAGEMENT
 6
 7        CORPORATION (“Walter Investment”), jointly as “Defendants” in
 8
          willfully employing and/or causing to be employed certain recording
 9
10        equipment in order to record to the telephone conversations of Plaintiff

11        without the knowledge or consent of Plaintiff, in violation of Nevada
12
          Revised Statute (“NRS”) 200.600 et seq., thereby invading Plaintiff’s
13
14        privacy. Plaintiff alleges as follows upon personal knowledge as to his own

15        acts and experiences, and, as to all other matters, upon information and
16
          belief, including the investigation conducted by his attorneys.
17
18     2. NRS 200.620 prohibits one party to a telephone call from intentionally

19        recording the same conversation without the knowledge or consent of the
20
          other while the person being recorded is on a telephone.          There is no
21
22        requirement under NRS 200.620 that the communication be confidential,

23        only that it not be for public use. Plaintiff alleges that Defendants continue
24
          to violate NRS 200.620 by impermissibly recording its telephone
25
26        conversations with Nevada residents.

27
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     CLASS ACTION COMPLAINT                                                           2
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       3. While many violations are described below with specificity, this Complaint
 1
 2        alleges violations of the statute cited in its entirety.
 3
       4. Unless otherwise stated, all the conduct engaged in by Defendants took
 4
          place in Nevada.
 5
 6     5. Any violations by Defendants were knowing, willful, and intentional, and
 7
          Defendants did not maintain procedures reasonably adapted to avoid any
 8
 9        such violation.

10     6. Unless otherwise indicated, the use of Defendants’ name in this Complaint
11
          includes all agents, employees, officers, members, directors, heirs,
12
13        successors, assigns, principals, trustees, sureties, subrogees, representatives,

14        and insurers of Defendants’ named.
15
                                     JURISDICTION AND VENUE
16
       7. Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff is a
17
18        resident of the state of Nevada, seeking relief on behalf of a class, which will

19        result in at least one class member belonging to a different state than that of
20
          the Defendant. Green Tree is a Delaware Limited Liability Company with a
21
22        principal place of business in Minnesota. Green Tree is notably listed as a

23        foreign limited-liability company with the Nevada Secretary of State,
24
          carrying Nevada Business ID “NV20031086723”. Walter Investment has a
25
26        principal place of business in Florida. Plaintiff also seeks the greater of

27        statutory damages of $1,000 per violation per day for the three year statute
28

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           of limitations pursuant to NRS 200.690 and NRS 11.190, which, when
 1
 2         aggregated among a proposed class number in the tens of thousands, exceeds
 3
           the $5,000,000 threshold for federal court jurisdiction.        Therefore, both
 4
           diversity jurisdiction and the damages threshold under the Class Action
 5
 6         Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
 7
       8. Venue is proper in the United States District Court for the District of Nevada
 8
 9         pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark

10         County, the State of Nevada and Defendants are subject to personal
11
           jurisdiction in the County of Clark, State of Nevada as they conduct business
12
13         there, and the conduct giving rise to this action occurred in Nevada. 28

14         U.S.C. § 1391(b)(2). Further, Green Tree is registered with the Nevada
15
           Secretary of State with a registered agent of service in Las Vegas, Nevada.
16
17                                        PARTIES

18     9. Plaintiff is, and at all times mentioned herein was, a natural person residing

19         in the County of Clark, State of Nevada.
20
       10. Green Tree is, and at all times mentioned herein was, a limited liability
21
22         corporation operating in Nevada, whose primary address is in St. Paul,

23         Minnesota. Green Tree is a wholly owned subsidiary of Walter Investment
24
           Corporation, whose principal place of business is in Florida.
25
26     11. Green Tree is a mortgage servicer and debt collector, offering post-default

27         debt collection services on debts allegedly owed by consumers.
28

     CLASS ACTION COMPLAINT                                                              4
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       12. Green Tree has a policy and practice of recording telephone conversations
 1
 2        with the public, including Nevada residents. Green Tree’s employees and
 3
          agents are directed, trained and instructed to, and do, record, telephone
 4
          conversations with the public, including Nevada residents.
 5
 6     13. Green Tree was acting as the agent for Walter Investment, the principal, at
 7
          all times relevant. In this capacity, Green Tree was authorized to act on
 8
 9        behalf of Walter Investment.

10     14. At a minimum, Green Tree maintained apparent authority to act on behalf of
11
          Walter Investment, since Plaintiff reasonably believed that an agency
12
13        relationship existed between Defendants, and this reasonable belief was

14        traceable to a manifestation of Defendants, whose websites both clarify their
15
          relationship.
16
17     15. Walter Investment knowingly accepted the benefits of the violations alleged

18        herein by receiving compensation from consumers from whom Walter
19
          Investment’s agents, Green Tree serviced loans and collected debts on behalf
20
21        of Walter Investments.

22                               FACTUAL ALLEGATIONS
23     16. Beginning in and around early 2013, Green Tree had numerous telephone
24
          conversations with Plaintiff regarding a home loan modification and debt
25
26        collection.

27
28

     CLASS ACTION COMPLAINT                                                          5
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       17. Over a span of months in 2013 and continuing into 2014, Plaintiff and Green
 1
 2         Tree discussed a home loan modification for Plaintiff’s home in Las Vegas.
 3
           During this time, Plaintiff and Green Tree had at least five (5) telephone
 4
           communications.
 5
 6     18. At no time during these telephonic communications did Green Tree advise
 7
           Plaintiff that Green Tree was recording the conversation.
 8
 9     19. At no time during any telephonic conversations did Plaintiff give consent for

10         the telephone call with Green Tree to be monitored, recorded and/or
11
           eavesdropped on.
12
13     20. Plaintiff had no reasonable expectation that any part of the telephone

14         conversations with Green Tree would be monitored, recorded and/or
15
           eavesdropped upon because Green Tree simply did not disclose that the calls
16
17         were recorded, despite the fact that recording every telephone call is Green

18         Tree’s policy.
19
       21. Plaintiff did not hear intermittent beeps during the call(s) that may have
20
21         alerted Plaintiff to the fact Green Tree was recording the call; nor did Green

22         Tree cause intermittent beeps to be heard, which could have altered the
23
           Plaintiff to the calls being recorded.
24
25     22. Plaintiff was shocked to discover Green Tree recorded, monitored and/or

26         eavesdropped upon the calls without Plaintiff’s knowledge or consent.
27
28

     CLASS ACTION COMPLAINT                                                            6
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       23. During these conversations with Green Tree, Plaintiff discussed highly
 1
 2        personal and private information that Plaintiff had not openly discussed with
 3
          others, including Plaintiff’s financial status.
 4
       24. Plaintiff had no reasonable expectation that Plaintiff’s telephone
 5
 6        conversations with Green Tree would be recorded due to the private subject
 7
          matter being discussed.
 8
 9     25. During the relevant time period, Green Tree had a policy and a practice of

10        recording and/or monitoring telephone conversations with consumers.
11
          Green Tree’s employees and agents are directed, trained and instructed to,
12
13        and do, record, monitor, and/or eavesdrop upon telephone conversations

14        with the public, including Plaintiff and other Nevada residents.
15
       26. During the relevant time period, all of Green Tree’s calls to the public,
16
17        including those made to Nevada residents, were recorded, monitored, and/or

18        eavesdropped upon without the knowledge or consent of the public,
19
          including Plaintiff and other Nevada residents.
20
21     27. During the relevant time period, all of Green Tree’s outbound calls to the

22        public, including those made to Nevada residents, were recorded without the
23
          knowledge or consent of the public, including Plaintiff and other Nevada
24
25        residents.

26
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     CLASS ACTION COMPLAINT                                                          7
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       28. Green Tree’s conduct alleged herein constitutes violations of the right to
 1
 2        privacy of the public, including Plaintiff and other Nevada residents, and
 3
          NRS 200 et seq.
 4
       29. Green Tree concealed from Plaintiff and similarly situated Nevada residents
 5
 6        that Green Tree was recording the telephone calls between itself and
 7
          Plaintiff and other similarly situated Nevada, which calls were initiated by
 8
 9        Green Tree.

10     30. Green Tree concealed the fact that it was recording the aforementioned
11
          phone call/s to create the false impression that calls were not being recorded.
12
13        Green Tree provided no warning or other disclaimers that the phone calls

14        were, or even may, be recorded.
15
       31. Green Tree recorded the conversations with Plaintiff without obtaining
16
17        Plaintiff’s consent, causing harm and damage to Plaintiff. At no time during

18        the telephone calls did Plaintiff give consent, whether express or implied, for
19
          the telephone conversations to be recorded.
20
21     32. Reasonable Nevada residents expect that their telephone communications

22        are not being recorded in the absence of a call recording advisement of some
23
          kind at the outset of the telephone call/s.
24
25     33. The calls Green Tree made to Plaintiff were not for emergency purposes.

26        ACCRUAL OF RIGHTS TO PRIVACY CLAIMS, CONTINUING
                VIOLATION, EQUITABLE TOLLING, AND
27                  FRAUDULENT CONCEALMENT
28

     CLASS ACTION COMPLAINT                                                            8
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       34. Plaintiff did not discover, and could not discover through the exercise of
 1
 2         reasonable diligence, the fact that Green Tree was recording the phone calls
 3
           it made to Plaintiff and members of the Nevada Class without their
 4
           knowledge or consent.
 5
 6     35. Green Tree concealed from Plaintiff and members of the Nevada Class that
 7
           it was recording the telephone calls between itself and Plaintiff or other
 8
 9         members of the Nevada Class.

10     36. Green Tree concealed the fact that it was recording the aforementioned
11
           phone calls to create the false impression in the minds of Plaintiff and
12
13         members of the Nevada Class that they were not being recorded. At the

14         outset of the phone calls there was no warning that the phone calls were, or
15
           even may, be recorded. Such warnings are ubiquitous today.
16
17     37. Plaintiff is justified in not bringing the claim earlier based on Green Tree’s

18         failure to inform Plaintiff and other members of the Nevada Class that the
19
           phone calls were being recorded as Plaintiff and his counsel were unaware
20
21         that Green Tree’s recorded telephonic communications with Plaintiff until

22         June 2015.
23
24                               CLASS ALLEGATIONS

25
       38. Plaintiff brings this action on behalf of himself and on behalf of all others
26
27         similarly situated (“The Class”).

28

     CLASS ACTION COMPLAINT                                                            9
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       39. Plaintiff represents, and is a member of, “The Class” defined as follows:
 1
 2        “All persons in Nevada whose inbound and outbound telephone
 3
          conversations were monitored, recorded, and/or eavesdropped upon without
 4
          their consent by Defendants within three (3) years prior to the filing of the
 5
 6        original Complaint in this action.”
 7
       40. Defendants, and their employees and agents are excluded from The Class.
 8
 9        Plaintiff does not know the number of members in The Class, but believes

10        this number to be in the tens of thousands, if not more. Thus, this matter
11
          should be certified as a Class action to assist in the expeditious litigation of
12
13        this matter.

14     41. Plaintiff reserves the right to expand The Class definition to seek recovery
15
          on behalf of additional persons as warranted as facts are learned in further
16
17        investigation and discovery.

18     42. The joinder of The Class members is impractical and the disposition of their
19
          claims in the Class action will provide substantial benefits both to the parties
20
21        and to the Court. The Class can be identified through Defendants’ records.

22     43. There is a well-defined community of interest in the questions of law and
23
          fact involved affecting the parties to be represented. The questions of law
24
25        and fact to The Class predominate over questions which may affect

26        individual Class members, including the following:
27
28

     CLASS ACTION COMPLAINT                                                           10
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 1         a. Whether Defendants have or had a policy of recording, and/or
 2            eavesdropping upon and/or monitoring incoming and/or outgoing calls;
 3         b. Whether Defendants disclosed to callers and/or obtained their consent
 4            that their incoming and/or outgoing telephone conversations were being
 5            recorded, eavesdropped upon and/or monitored;
 6         c. Whether Defendants’ policy of recording, eavesdropping upon and/or
 7            monitoring incoming and/or outgoing calls constituted a violation of
 8            NRS 200.600 et seq.;
 9         d. Whether Plaintiff and The Class was damaged thereby, and the extent of
10            damages for such violations; and
11         e. Whether Defendants should be enjoined from engaging in such conduct
12            in the future.
13
       44. Plaintiff is asserting claims that are typical of The Class because every other
14
15         member of The Class, like Plaintiff, was exposed to virtually identical
16
           conduct and are entitled to the greater of statutory damages of $100.00 per
17
           day or $1,000 per violation pursuant to NRS 200.690.
18
19     45. Plaintiff will fairly and adequately represent and protect the interests of The
20
           Class in that Plaintiff has no interest adverse to any member of The Class.
21
22         Plaintiff has retained counsel experienced in handling class action claims.

23     46. Plaintiff and the members of The Class have all suffered irreparable harm as
24
           a result of the Defendants’ unlawful and wrongful conduct. Absent a class
25
26         action, The Class will continue to face the potential for irreparable harm. In

27         addition, these violations of law will be allowed to proceed without remedy
28

     CLASS ACTION COMPLAINT                                                              11
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           and Defendants will likely continue such illegal conduct. Because of the
 1
 2         size of the individual Class member’s claims, few, if any, Class members
 3
           could afford to seek legal redress for the wrongs complained of herein.
 4
       47. A class action is a superior method for the fair and efficient adjudication of
 5
 6         this controversy. Class-wide damages are essential to induce Defendants to
 7
           comply with Nevada law. The interest of The Class members in individually
 8
 9         controlling the prosecution of separate claims against Defendants is small

10         because the maximum statutory damages in an individual action are
11
           minimal. Management of these claims is likely to present significantly
12
13         fewer difficulties than those presented in many class claims.

14     48. Defendants have acted on grounds generally applicable to The Class, thereby
15
           making appropriate final injunctive relief and corresponding declaratory
16
17         relief with respect to The Class as a whole.

18                              FIRST CAUSE OF ACTION
19                   VIOLATION OF NEVADA REVISED STATUTE 200.620

20     49. Plaintiff incorporates by reference all of the above paragraphs of this
21
           Complaint as though fully stated herein.
22
23     50. NRS 200.620 prohibits one party to a telephone call from intentionally

24         recording the conversation without the knowledge or consent of the other
25
           party. NRS 200.620 is violated the moment the recording is made without
26
27         the consent of all parties thereto, regardless of whether it is subsequently

28         disclosed that the telephone call was recorded. The only intent required by

     CLASS ACTION COMPLAINT                                                          12
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           NRS 200.620 is that the act of recording itself be done intentionally. There
 1
 2         is no requisite intent on behalf of the party doing the recording.
 3
       51. Defendants employed and/or caused to be employed certain eavesdropping,
 4
           recording, and listening equipment on the telephone lines of all employees,
 5
 6         officers, directors, and managers of Defendants. All these devices were
 7
           maintained and utilized to overhear, record, and listen to each and every
 8
 9         incoming and outgoing telephone conversation over said telephone lines.

10     52. This listening, recording, and/or eavesdropping equipment was used to
11
           record, monitor, or listen to the telephone conversations between Defendants
12
13         and Plaintiff and/or the members of The Class, all in violation of NRS

14         200.620.
15
       53. Based on the foregoing, Plaintiff and the members of The Class are entitled
16
17         to, and below herein do pray for, statutory remedies and damages, including

18         but not limited to, those set forth in NRS 200.690.
19
                                    PRAYER FOR RELIEF
20
           Plaintiff respectfully requests the Court grant Plaintiff the following relief
21
22   against Defendants:

23                              FIRST CAUSE OF ACTION
24                          VIOLATION OF NRS 200.600 ET SEQ.

25        • an award of the greater of statutory damages of $100.00 per day or
26
             $1,000.00 to each named Plaintiff and member of the Class, pursuant to
27
28           NRS 200.690(1)(b)(1) against Defendants;


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          • an award of punitive damages pursuant to NRS 200.690(1)(b)(2), against
 1
 2           Defendants;
 3
          • an award of costs of litigation and reasonable attorney’s fees, pursuant to
 4
 5           NRS 200.690(1)(b)(3), against Defendants; and

 6        • any other relief the Court may deem just and proper.
 7
                                        TRIAL BY JURY
 8
       54. Pursuant to the seventh amendment to the Constitution of the United States
 9
10        of America, Plaintiff is entitled to, and demands, a trial by jury.
11
12   Dated: November 7, 2014                             Respectfully submitted,
13
14                                                BY: /S/ DANNY J. HOREN__________
15                                                       DANNY J. HOREN, ESQ.
                                                         NV BAR NO. 13153
16                                                       KAZEROUNI LAW GROUP, APC
17                                                       ATTORNEYS FOR PLAINTIFF
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     CLASS ACTION COMPLAINT                                                         14
